Defendant was convicted of "making and drawing a fictitious check" and was sentenced to the state prison at San Quentin "for a term of from one to fourteen years." He appealed from the judgment and from the order denying his motion for a new trial. The cause was placed upon the September calendar, and, counsel for the defendant not appearing, it was ordered, on September 10, 1918, that appellant have fifteen days in which to file his opening brief, the respondent ten days to answer, and appellant ten days to reply, cause then to stand submitted.
The time for filing appellant's opening brief having expired and the time not having been extended, we must assume that the appeal has been abandoned, and, therefore, affirm the judgment for want of prosecution. We have, however, read the evidence in the case and find it sufficient to support the verdict.
The judgment is amended by striking out the words "for a term of from one to fourteen years," and as thus amended the judgment and order are affirmed. *Page 493 